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                                                                                   2024 Mar-22 AM 10:37
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                         NORTHEASTERN DIVISION

MELISSA FENDLEY,
an individual,

      Plaintiff,
                                               CASE NO:
vs.

EL PORTAL, INC., a domestic
corporation; and ALVARO
SALAZAR, an individual,

     Defendants.
__________________________________/

                                   COMPLAINT

      Plaintiff, MELISSA FENDLEY (“Plaintiff”) by and through the undersigned

counsel, hereby files this Complaint and sues EL PORTAL, INC., and ALVARO

SALAZAR, for injunctive relief, attorney’s fees and costs pursuant to 42 U.S.C.

§12181 et seq., (“Americans with Disabilities Act” or “ADA”) and alleges:

                         JURISDICTION AND PARTIES

      1.      This is an action for declaratory and injunctive relief pursuant to Title

III of the Americans with Disabilities Act, 42 U.S.C. §12181 et seq., (hereinafter

referred to as the “ADA”). This Court is vested with original jurisdiction under 28

U.S.C. Sections 1331 and 1343.

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      2.      Venue is proper in this Court, the Northern District of Alabama

pursuant to 28 U.S.C. §1391 (B) and Local Rules of the United States District Court

for the Northern District of Alabama.

      3.      Plaintiff,   MELISSA      FENDLEY       (hereinafter   referred   to   as

“FENDLEY”) is a resident of the State of Alabama and is a qualified individual with

a disability under the ADA. FENDLEY suffers from what constitutes a “qualified

disability” under the Americans with Disabilities Act of 1990, (“ADA”) and all other

applicable Federal statutes and regulations to the extent that she suffers from

paraplegia and requires a wheelchair for mobility. Prior to instituting the instant

action, FENDLEY visited the Defendants’ premises at issue in this matter on

multiple occasions as her daughter and grandchildren live nearby, most recently on

or about February 14, 2024, and was denied full, safe and equal access to the subject

properties due to their lack of compliance with the ADA. FENDLEY continues to

desire and intends to visit the Defendants’ premises but continues to be denied full,

safe and equal access due to the barriers to access that continue to exist.

      4.      The Defendant, EL PORTAL, INC., is a domestic corporation,

registered to do business and, in fact, conducting business in the State of Alabama.

Upon information and belief EL PORTAL, INC. (hereinafter referred to as “EL

PORTAL” or jointly as “Defendants”) is the owner, lessee and/or operator of the

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real property and improvements that are the subject of this action, specifically: the

El Portal Mexican Restaurant #1 located at 1901 Hwy 31 SW in Hartselle and the El

Portal Mexican Restaurant #2 located at 1315 Hwy 31 NW in Hartselle, Alabama

(hereinafter referred to jointly as the "Restaurants”).

      5.      The Defendant, ALVARO SALAZAR, is an individual over the age of

majority who resides in Morgan County, Alabama. Upon information and belief,

ALVARO SALAZAR (hereinafter referred to as “SALAZAR” or jointly as

“Defendants”) is the owner, lessee and/or operator of the El Portal Restaurants

identified in the foregoing paragraph.

      6.      All events giving rise to this lawsuit occurred in the Northern District

of Alabama.

                     COUNT I - VIOLATION OF THE ADA

      7.      On or about July 26, 1990, Congress enacted the Americans with

Disabilities Act (“ADA”), 42 U.S.C. §12101 et seq. Commercial enterprises were

provided one and a half years from enactment of the statute to implement its

requirements. The effective date of Title III of the ADA was January 26, 1992. 42

U.S.C. §12181; 20 C.F.R. §36.508 (A).

      8.      Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the

Restaurants owned and/or operated by Defendants are places of public

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accommodation in that they are retail establishments operated by a private entity that

provide food and drink to the public.

      9.      Defendants have discriminated and continus to discriminate against the

Plaintiff, and others who are similarly situated, by denying access to, and full, safe

and equal enjoyment of goods, services, facilities, privileges, advantages and/or

accommodations at the Restaurants in derogation of 42 U.S.C §12101 et seq.

      10.     The Plaintiff has been unable to and continues to be unable to enjoy

access to, and the benefits of the services offered at the Restaurants owned and/or

operated by Defendants. Prior to the filing of this lawsuit, Plaintiff visited the

Restaurants at issue in this lawsuit and was denied access to the benefits,

accommodations and services of the Defendants’ premises and therefore suffered an

injury in fact as a result of the barriers to access listed in Paragraph 12, below, that

she personally encountered. In addition, Plaintiff continues to desire and intends to

visit the Restaurants, but continues to be injured in that she is unable to and continues

to be discriminated against due to the barriers to access that remain at the Restaurants

in violation of the ADA. FENDLEY has now and continues to have reasonable

grounds for believing that she has been and will be discriminated against because of

the Defendants’ continuing deliberate and knowing violations of the ADA.

      11.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the

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Department of Justice, Office of the Attorney General, promulgated Federal

Regulations to implement the requirements of the ADA 28 C.F.R. Part 36.

      12.    Defendants are in violation of 42 U.S.C. §12181 et seq. and 28 C.F.R.

§36.302 et seq. and are discriminating against the Plaintiff as a result of inter alia,

the following specific violations that Plaintiff personally encountered:

             El Portal #1

             i.     The parking spaces with some indicia of accessibility lack
                    raised signage to designate them accessible;
             ii.    There is no wheelchair accessible toilet room provided.
             iii.   The entry doors to both existing toilet rooms have knob-type
                    hardware that requires tight grasping and twisting of the wrist
                    to operate;
             iv.    The existing toilet rooms are not designated with accessible
                    signage;
             v.     The lavatories in the existing toilet rooms are of a pedestal
                    design that offers none of the knee and toe clearance necessary
                    for a wheelchair;
             vi.    There are no grab bars at the water closets in the existing toilet
                    room;
             vii.   There is insufficient clear floor space and wheelchair
                    maneuvering space at both the lavatories and water closets in
                    the existing toilet rooms;



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           viii. The toilet tissue dispersers are out of reach of a wheelchair user
                  in the existing toilet rooms;
           El Portal #2

           ix.    None of the three accessible parking spaces having some indicia
                  of accessibility is designated as accessible with raised signage;
           x.     One of the parking spaces with some indicia of accessibility lacks
                  an adjacent access aisle necessary for a wheelchair user to enter
                  or exit a vehicle parked in the space;
           xi.    The existing toilet rooms are not designated with accessible
                  signage;
           xii.   The existing toilet room signage is not located in an accessible
                  location;
           xiii. The lavatories in the existing toilet rooms are in base cabinets
                  that offer none of the knee and toe clearance required by a
                  wheelchair user;
           xiv.   The paper towel dispensers in the existing toilet rooms have
                  operating controls that are located out of reach of a wheelchair
                  user;
           xv.    The mirrors in the existing toilet rooms are mounted too high
                  for a wheelchair user;
           xvi.   The rear grab bars at the water closets in the existing toilet
                  rooms are too short.
     13.   There are other current barriers to access and violations of the ADA at

the Restaurants owned and operated by Defendants that were not specifically


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identified herein as the Plaintiff is not required to engage in a futile gesture pursuant

to 28 C.F.R. Part 36, §36.501 and, as such, only once a full inspection is performed

by Plaintiff or Plaintiff’s representatives can all said violations be identified.

      14.    To date, the barriers to access and other violations of the ADA still exist

and have not been remedied or altered in such a way as to effectuate compliance

with the provisions of the ADA.

      15.    Pursuant to the ADA, 42 U.S.C. §12101 et seq. and 28 C.F.R. §36.304,

Defendants were required to make their Restaurants, places of public

accommodation, accessible to persons with disabilities by January 28, 1992. To

date, Defendants have failed to comply with this mandate.

      16.    Pursuant to 28 CFR §36.211, Defendants are required to maintain their

accessible features in operable working condition in a manner that is readily

accessible to and usable by individuals with disabilities. To date, Defendants have

also failed to comply with this mandate.

      17.    Plaintiff has been obligated to retain undersigned counsel for the filing

and prosecution of this action. Plaintiff is entitled to have her reasonable attorney’s

fees, costs and expenses paid by Defendant pursuant to 42 U.S.C. §12205.

      18.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to

grant Plaintiff injunctive relief, including an Order to alter the subject facilities to

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make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed.

      WHEREFORE, the Plaintiff demands judgment against Defendants and

requests the following injunctive and declaratory relief:

             A.    That the Court declare that the properties owned and
                   administered by Defendants are violative of the ADA;

             B.    That the Court enter an Order directing Defendants to alter
                   its facilities to make them accessible to and useable by
                   individuals with disabilities to the full extent required by
                   Title III of the ADA;

             C.    That the Court enter an Order directing Defendants to
                   evaluate and neutralize their policies and procedures
                   towards persons with disabilities for such reasonable time
                   so as to allow them to undertake and complete corrective
                   procedures;

             D.    That the Court award reasonable attorney’s fees, costs
                   (including expert fees) and other expenses of suit, to the
                   Plaintiff; and

             E.    That the Court award such other and further relief as it
                   deems necessary, just and proper.

      Dated this 21st day of March, 2024.

                                              Respectfully submitted,
                                              By: /s/ Edward I. Zwilling
                                              Edward I. Zwilling, Esq.
                                              AL State Bar No.: ASB-1564-L54E

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